Case 6:19-bk-01350-CC.] Doc 8 Filed 03/12/19 Page 1 of 3

Deber1 Larry Howard Romero
First Name Nliddle Narne Last Name

 

Debtor 2

(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: NllDDLE DlSTRlCT OF FLORIDA

 

 

Case number 6:19-bk-01350
(in<nown) B Check if this is an
amended filing

 

 

Official Form 108
Statement of lntention for individuals Filing Under Chapter 7 wis

 

lf you are an individual filing under chapter 7, you must fill out this form if:
. creditors have claims secured by your property, or

5 you have leased personal property and the lease has not expired.

¥ou must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

lf two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Prcperty (Official Form 106D), fill in the
g information below.
; t iii`denff»fv" wheeler

   

 

 
  

 

, property"tha~t;i , w Whatd° youmtendto do re

t vecure"s"ja"debt?d

 
   
  

CredifOr’S American Credit Acceptance ill Surrender the property. m NG
name: l:] Retain the property and redeem it.
l Retain the property and enter into a . Ye$

D€SCriniOn Of 2014 KlA Cadenza 25000 miles

property NADA Ave trade,

securing deth #knaLn4d7xe5134676, Lien by
American Credit Acceptance

Reaffirmation Agreement.
l:l Retain the property and [explain]:

 

 

 

, List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Oft"icial Form 1066), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

   

enes¢nbe ycureunex"pired personal propertyiieaséjsg »_ " ` ' winthe`léasefbe'assqu

Lessor‘s name: [] NO
Description of leased
Property: l:l Yes
Lessor’s name: l___| NO
Description of leased
Property: L'J Yes
Ofiicial Form 108 Statement of lntention for lndividuals Filing Under Chapter 7 page 1

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com Best Case Bankruplcy

Case 6:19-bk-01350-CC.] Doc 8 Filed 03/12/19 Page 2 of 3

 

 

Debwm Larry Howard Romero Case number (irknown) 6;19~bk-O1350
Lessor's name: ij No
Description of leased

Property: [] Yes
Lessor's name: ij No
Description of leased

Property: ij Yes
Lessor's name: m No
Description of leased

Property: ij Yes
Lessor's name: ij No
Description of leased

Property: f:] Yes
Lessor's name: l:l No
Description of leased

Property: El Yes

 

 

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X Isl Larry Howard Romero X
Larry Howard Romero Signature of Debtorz
Signature of Debtor 1

 

 

Date Nlarch 12, 2019 ‘ Date

 

 

Official Form 108 Statement of intention for lndividuals Fillng Under Chapter 7 page 2

Software Copyright (c) 1996»2019 Best Case, LLC ~ www.bestcase.com Best Case Bankrupicy

Case 6:19-bl<-01350-CC.] Doc 8 Filed 03/12/19 Page 3 of 3

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISI()N
In re: Larry Howard Romero Case No.: 6:19-bk-01350
Debtor(S). Chapter 7

 

CERTIFICATE OF SERVICE REGARDING STATEMENT OF IN'I`ENTION FOR
INDIVIDUALS FILINVG UNDER CHAPTER 7

I HEREBY CERTIFY that a true and correct copy of the Amended Debtor’s Statement of Inrention
for lndividuals Filz`ng Under Chapter 7 to add American Credit Acceptance, P 0 BOX 204531
Dallas TX 75320-4531, has been furnished by electronic transmission to: U.S. Trustee and Chapter
7 Trustee, Arvind Mahundru and by United States Maii this 12th Day of March 2019.

LAW OFFICES OF PAUL L. URICH, P.A.

BY: /s/ Paul L. Urich. Esq.
Paul L. Urich, Esq., Bar # 0088780
1510 E. Coloniai Dr., Suite 204
Orlando, FL 32803
(407) 896-3077 Telephone
(407) 896-3041 Telecopy
Attorney for Debtor

